Case 2:05-Cr-20259-BBD Document 5 Filed 08/05/05 Page 1 of 2 Page|D 4

UNITED STATES DISTRICT COURT
Western District of Tennessee

14 "4 ~Hé =

Thcmao M. chld llewhie 901-495-1200
Clerk of Court rex 901-495-1250
Jack.lon 731-421-9200
rex 901-421-9210

DATE: Angust 5, 2005

NOTICE TO ALL PARTIES

RE: CRIMINAL CASE NO. 05-20259
UNITED STATES OF AMERICA VB. DARREL K. MCGARITY

RuLE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Following documents received from USDC of Western District of Texas
(1)Warrant for Arrest (2)Copy of Indictment (3) Certified Copy of Initial
Appearance (4)Wavier of Rule 5 Hearing (5) Original order Setting
Conditions of Release (S)Appearance Bond (7)0rigina1 Holding De£endant to
Appear. Please refer to document #4 in the case record.

Sincerely,

Thcmas ~
Cler

  

cc: Mag. Judge Case mgr.

242 Federal Building 101 Federal Building
167 Nbrth Main Street 109 South Highland Avenue
Memphis, Tennessee 38103 Jackson, Tennessee =

  

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20259 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

Stephen C Parker
167 N. MAIN, Sth Floor
Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

